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Exhibit “A”
Case 06-10725-gwz Doc 3703-1

Interests Acquired by Compass Pursuant to Call Right

William T. McHugh
Ruth A. Kuaster Trustee of the Ruth A. Kuester Trust dalad 1/28/91
Helen T, Bahneman
Marshall J, Brecht & Janet L. Brecht Trustees af the Marshall J. Brecht Trust dated 2/5/86
James Feeney Trustee of the E & M Hardware Profit Sharing Plan
Michael Percy & Carol Percy Trustees of the Percy Family Trust U/A 9/28/99
Byma E. Falke Sr. Trustea of the Byrne Falke Living Trust
Byme E. Falke Sr. Trustee of the Village Hardware Penston Trust
Daryl D. Thompson Trustee of the Thompson 1993 Trust dated 1/26/93
Donald W. Cook Trustee of the Donald W. Cook Trust
Judy A. Bonnet, an unmarried woman
Howard C, Sayler & Phyllis L. Sayter Trustees of the Sayier Family Trust dated 9/2/98
Periman Investment Partners, L.P.. a Callfernla limited partnership
Frederick W. Kewall il, Trustea of the Barbara J. Kawall Trust dated 7/18/89
org Trustee of tha i rg 2000 Trust dated 6/20/00
Deane Albright & Casay Persing Trustees of the Albright Parsing & Associates Profit Sharing Plan
Lamy L. Rieger & Patsy R. Rieger Trustees of the Lamy L Rieger & Palsy R. Rleger Revocable Trust dated 8/14/91
Paul Hargis & Susan Gall Hargis, husband & wife, as Joint tenants with right of survivorship
Monighett, Inc., 8 Nevada corporation
dack J, Beaulleu Trustee of the Jack J. Beaulieu Revocable Living Trust dated 9/1/94
Acthur 8. Moore, an unmarried man
Gareth A. R. Craner Trustee of The Gareth A. R. Craner Trusl Did 6/01/02
Steven G. Sapourn, a marriad man dealing with hls sole & separate property
First Savings Bank Custodian For Lynn Fetlerly IRA
Herbert Slovis, a single man & Julle B, Siovis, a single woman as Jolnt tenants with right of survivorship
Nicholas Perrone Trustee of the Nicholas Perrone Trust dated 7/12/99
Robert S. Speckert Trustes of the Robert S, Speckert Rev. Living Trust dated 6/11/92
Ragia C. Madlambayan. a single man
First Savings Bank Custodian For Edward Burgess IRA
+ First Savings Bank Custodian For Lamberto Eugenio IRA
Robert A. Susskind, an unmarried man
Sovereign Capital Advisors, LLC, a Nevada limited liabllity company
First Savings Bank Custodian For Carmen G. McColly IRA
George A. Roberts & Sharon D, Roberts Trustees of Ihe Roberts Trust dated 3/11/03
Letand K. Swanson Trustee of the Alvin M. Swanson & Grace E. Swanson Living Trust dated 7/26/01
Bill Penn & tsa Penn Trustees of the Penn Family Trust dated 1/20/90
Bert E. Amlund Trustee of the Ber E, Arnlund Charitable Remainder Unitrust dated 12/31/01
Robert D. Phillips, an unmariad man
Judy S. Young, an unmarried woman
David L. Zwarg & Cara D. Zwarg, husband & wife, as joint tenants with right of survivorship
Robari L. Aligeler & Danna L. Allgeler Trustees of the R. L. Aligeler Family Trust dated 10/4/07
William D. Wickland & Victoria R. Wickland, husband & wife. as Joint tenants with right of survivorship
Rachel Rlehle, an unmarried woman.
Judith L. Fountain Trustee of the Judith L, Fountaln Irrevocable Trust dated 08/26/97
Slerra Eye Associates Profit Sharing Plan
Rodnay J. Arbogast & Donna Arbogast Trustees of the Arbogast Family Trust
Tomie S. Ford, an unmarriad woman
Califomla National Bank Custodlan for benefit of Jay S. Stein IRA
Randi E. McHugh
JV Marrone Trustee for the benefit of The J V Marrone Revocable Trust dated 12/12/95
John M. Luongo & Gloria Luongo, husband & wife, as Joint tenants with right of survivorship payable on death to Stephanie Lu
ric S. Perlman, an unmaried man.
Ronald K. Montasano Trustee for the benefit of Tha Underpass Trust
Gerald Lewis & Judith J. Lewis, husband & wife, as joint tenants with righ! of survivorship
Daniel K. Fix & Barbara J. Fix Trustees of the Danlel K. Fix & Barbara J. Fix Family Trust
Glenn 8. Davis & Bernie S. Davis Trustees of the Davis Revocable Living Trust UA 7/08/88
Cynthia G. Davis Trustee of tha Cynthla G. Davis Living Trust
Annie Omaye & Stantay Omaye Trusteas of the Omays 1990 Trust
Thalia Nicholas Routsls Trustee of the Thalia Routsls Family Trust dated 7/24/90
Joseph N. Rizzuto & Dorathy Rizzuto Trustees of the Joseph N. Rizzuto Family Trust dated 4/24/89
Arthur E. Kebbie & Thelma M. Kebble Trustees af the Arthur E. Kabble & Thelma M. Kebble Family Trust dated 5/10/95
Alan R. Simmons & Judith B. Simmons, husband & wife, as Joint tenants with right of survivorship
June Cook Trustee of the Alvin Broido Marital Trust U/A dated 4/24/72
K. Ken Kaneda & Brigitta Arand-Kaneda Trustees of the Kaneda Living Trust dated 5/30/02
Douglas Minter & Elizabeth F, Minter Trustees of the Minter Farnily 1994 Trust
William Bolding & Carolyn Bolding, husband & wife, as jolnt tenants with right of survivorship
V. R. Marrone & Reba F, Marrone Trusteas of the V. R. & Reba F, Marrone Trust dated 10/22/01
Connie Minos & Ivan Loabs, wife & husband, as Joint tanants with right of survivorship
Charles Lebron Parker & Mary Jane Parker, husband & wife, as Joint tenants with right of survivorship
James H. Lidster & Phyllus M. Lidstar Trustees of the James H. Lidster Family Trust dated 1/20/92
Russell M. Blood & Judy A. Blood Trustees of the Blood Family Trust dated 5/18/99
First Savings Bank Custadian For Bobble Marrs IRA
Barbara Reiss Miller Trustae of the Barbara Relss Miller Revocable Living Trust dated 2/4/03
Clawiter Associates, LLC, a Califomia limited llabillty company
Bay Area Capltal, LLC, an Oregon limited liability company
James C. Stil, a married man dealing with his sole & saparate property
David M. Thalcher, a single man
Denise L, Barzan, a married women dealing with her cole & separate property & Barbara Snelson, a mamied woman dealing w
Han K. Lee & Carol L. Lee, husband & wile, as joint tenants with the right of survivorship
Martin L. Manning, a married man dealing with his sole & separate property
First Savings Bank Custodian For Harvey Alderson IRA
James W. Forsythe & Earlene M, Forsyihe, husband & wia, as Joint tenants with right of survivorship
Joseph Sterling & Theresa Sterling Trustees of the Sterling Family Trust dated 6/14/02
Dale J, McMullan Trustee of the McMullan Living Trust dated 8/19/94
Slorra West, Inc., a Nevada corporation
Sylvia M. Good Succassor Trustee under the Syivia M. Good Survivor's Trust established under the Sam Good Family Trust ¢
Tracy A. DeBary, an unmanied man
Eric C. Disbrow Trustee of the Eric C, Dlsbrow MD Inc, Profit Sharing Plan
Kenneth R. Grasne & N. Dean Greang, husband & wife, as joint tenants with righl of survivorship
Bert A. Stevenson Trustes of the Dalton Trust dalad 1/7/04
Edward H, Kim, an unmarriad man
Sam Costanza, Trustes of The Costanza 1987 Dacedent's Trust
First Savings Bank Custodlan For Marlin W, McColly IRA
Sam Costanza Trustee of the Costanza 1987 Survivor's Trust dated 3/12/87
First Trust Co, Of Onaga Custodian for Hamilton M. High IRA
Benedict €. Urban & Roselyn N. Urban Trustees of The Benedict E. Urban & Roselyn N. Urban Family Trust dated 2/3/04
David Rosner Trustee of the David Rosner Revocable Trust dated 01/05/2005
Marie A, Maki & Raymond E, Maki, husband & wife, as joint tenents with right of survivorship
B.E.A. Family, Inc,, a Nevada corporation
Edwin L. Snetson & Barbara Snalson, husband & wife, as joint tenanta with right of survivorship
Sidney L, Larson & Ruth Ann Larson Trustees of the Larson Family Trust dated 6/19/94
Suzanne M. Halvorson Trustee of the Suzanne M. Halvorson Trust dated 3/21/03
Robert Levy & Renee Levy Trustees of the RNR Living Trust dated 10/1/04

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